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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. 91

                  NOTICE OF FILING OF AMENDMENT TO EXIT COMMITMENT LETTER

                   PLEASE TAKE NOTICE that, on October 5, 2018, the above-captioned debtors and

         debtors-in-possession (the “Debtors”) filed the Debtors’ Motion for Entry of an Order (I)

         Authorizing the Debtors to Assume the Exit Commitment Letter, (II) Approving the Commitment

         Fee, and (III) Authorizing the Debtors to File the Exit Facilities Fee Letter Under Seal [Docket

         No. 91] (the “Exit Financing Motion”).2

                   PLEASE TAKE FURTHER NOTICE that attached as Exhibit B to the Exit Financing

         Motion is the Exit Commitment Letter.

                   PLEASE TAKE FURTHER NOTICE that, on October 8, 2018, the Debtors executed

         an amendment to the Exit Commitment Letter. Attached hereto as Exhibit A is the amendment

         to the Exit Commitment Letter (the “Amendment”). A changed pages blackline comparing the

         Amendment to the Exit Commitment Letter is attached hereto as Exhibit B.




         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Exit
         Financing Motion.

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                                     PROPOSED ATTORNEYS FOR THE DEBTORS
                                     AND DEBTORS IN POSSESSION




                                               2
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